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                                   United States District Court
                                                      for the
                                            Southern District of Indiana

Aaron Blackwell, and Durell Cunningham,                   )
                              Plaintiffs,                 )
                                                          )
                vs.                                       )       Cause No: 1:19-cv-04869 -SEB-DLP
                                                          )
Daryl Jones, On-Target Security, Inc., and                )
Nordstrom, Inc.,                                          )
                               Defendants.                )


                                       SUMMONS IN A CIVIL ACTION

TO: (Defendants’ names and addresses)

         Daryl Jones                                                Nordstrom, Inc.
         c/o On-Target Security, Inc.                               c/o Corporate Creations Network, Inc.
         c/o Andrew C. Hannaford, Registered Agent                  1657 Commerce Drive #9B
         10040 Deer Run Circle                                      South Bend, IN 46628
         Fishers, IN 46037-9319

         On-Target Security, Inc.
         c/o Andrew C. Hannaford, Registered Agent
         10040 Deer Run Circle
         Fishers, IN 46037-9319

        A lawsuit has been filed against you. Within 21 days after service of this summons on you (not counting
the day you received it) or 60 days if you are the United States or a United States agency, or an officer or employee
of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) you must serve on the plaintiff an answer to the
attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must
be served on the plaintiffs or plaintiffs’ attorney, whose name and address are:

                                                Steven A. Haney
                                            HANEY LAW GROUP, PLLC
                                        3000 Towncenter Drive, Suite 2750
                                           Southfield, Michigan 48075

                                               Joseph N. Williams
                                          RILEY WILLIAMS & PIATT, LLC
                                       301 Massachusetts Avenue, Suite 300
                                             Indianapolis, IN 46204

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.

                                                          CLERK OF COURT

        12/11/2019
Date: ______________________                              _______________________________________
                                                          Signature of Clerk or Deputy Clerk
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                                                                                             Civil Summons (Page 2)
Civil Action Number: __________________________

                                             PROOF OF SERVICE
               (this section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

        This summons for (name of individual and title, if any) ______________________________________

was received by me on (date)__________________.

        I personally served the summons on the individual at (place) __________________________________

        ________________________________________________ on (date) __________________; or

        I left the summons at the individual’s residence or usual place of abode with (name)________________

        _____________________________________, a person of suitable age and discretion who resides there,

        on (date) __________________, and mailed a copy to the individual’s last known address; or

        I served the summons on (name of individual) ________________________________________, who is

        designated by law to accept service of process on behalf of (name of organization) _________________

        ________________________________________on (date) __________________; or

        I returned the summons unexecuted because _____________________________________________; or

        Other (specify):



My fees are $ _____________for travel and $_______________for services, for a total of $_______________.


I declare under penalty of perjury that this information is true.


Date: ____________________                         __________________________________________________
                                                   Server’s Signature


                                                   __________________________________________________
                                                   Printed name and title


                                                   __________________________________________________
                                                   Server’s address

Additional information regarding attempted service, etc.
